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                                                                            FILED
                  IN THE UNITED STATES DISTRICT COURT                         JAN 2"2 2016
                      FOR THE DISTRICT OF MONTANA
                                                                           Clerk, U.S. District Court
                           MISSOULA DIVISION                                 District Of Montana
                                                                                   Missoula



 UNITED STATES OF AMERICA,                            CR 11-61-M-DLC-2

                       Plaintiff,

         vs.

 DARIN MOWER,

                      Defendant.


      Before the Court is Defendant Darin Mower's ("Mower") Motion for Early

Termination of Probation. (Doc. 633.) On October 4, 2012, Mower pleaded

guilty to 21 U.S.C. § 856(a)(1) (Conspiracy to Maintain Drug-involved Premises)

and was sentenced by this Court to five years probation, including four months of

house arrest and 300 hours of community service. Mower has successfully

completed more than three years of his five year sentence. The Government has

not filed objections to this motion. As a matter of course, the Court is extremely

hesitant to grant motions requesting the early termination of probation.

      However, federal law allows for early termination of"a term of probation

previously ordered and discharge the defendant ... at any time after the expiration

of one year of probation in the case of a felony, if it is satisfied that such action is

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warranted by the conduct of the defendant and the interest of justice." 18 U.S.C. §

3564(c). The Court is further directed to consider the factors in section 18 U.S.C.

§ 3553(a) in weighing whether to terminate a term of probation. !d.

      Here, the Court finds that the Mower's conduct during his probationary

sentence and the interests of justice warrant granting the motion. The Court finds

that this is the appropriate course of action for two reasons. First, Mower's

underlying criminal conduct was born out of his misunderstanding between the

interactions of state and federal law. Though ignorance is never an excuse for

breaking the law, Mower has recognized his naivety in this area and has accepted

the consequences of his actions. Further, Mower's activity in the conspiracy was

brief and his criminal history is almost nonexistent. The Court is confident that

Mower will not re-offend.

      Second, Mower has not only successfully completed more than one year of

his probation, he has, by all accounts, done exceedingly well. Mower has

complied with all his conditions of his probation as confirmed by the United States

Probation Office. Further, neither the Government nor the Probation Office

objects to Mower's early termination of probation. The Court is satisfied that the

interests of justice weigh in favor granting Mower's motion.

      IT IS ORDERED that Mower's Motion for Early Termination of Probation

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(Doc. 633) is GRANTED. The term of probation previously imposed by the Court

is terminated as of the date of this order. Defendant Darin Mower is hereby

discharged from the sentence of probation in this case.
                       rJ
      DATED this lb._day of January, 2




                                      Dana L. Christensen, Chief Judge
                                      United States District Court




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